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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
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 9
10      In Re: KIA HYUNDAI VEHICLE                        CASE NO: ML 22-3052 JVS (KESx)
        THEFT MARKETING, SALES
11      PRACTICES, AND PRODUCTS
        LIABILITY LITIGATION
12                                                        ORDER NO. 2: ADOPTION OF
                                                          ORGANIZATION PLAN AND
13      This document relates to:                         APPOINTMENT OF COUNSEL
14
        ALL CASES

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18            At the outset, the Court thanks the authors of the Joint Preliminary Report
19     (Docket No. 40) and all counsel for their thoughtful and extensive submissions on
20     the structure of this litigation. The filings represent a thorough consideration of the
21     complexity which these pretrial proceedings face.
22
23     I.     Adoption of Structure.1
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26            1
               The Court finds it premature to make provisions for individual personal injury/wrongful
27     death cases.
28                                                    1
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 1                 The Court finds that plaintiffs’ counsel will be structured as follows:
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 3                 • A Consumer Class Action Leadership Committee (“Leadership
 4                 Committee”) consisting of four members. The Committee shall
 5                 designate one person as chair and advise the Court as to its selection.
 6
 7
                   • A Governmental Entities Committee consisting of one member, but
                   subject to expansions if more Governmental cases are added to the
 8
                   docket.
 9
10
                   • A Fact Discovery Committee consisting of two members of the
11
                   Leadership Committee, as selected by that Committee, and three other
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                   members. One of the three shall be designated to liaise with the
13
                   Governmental Entities Committee.
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15
                   • An Expert Discovery Committee consisting of two members of the
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                   Leadership Committee, as selected by that Committee, and three other
17
                   members. One of the three shall be designated to liaise with the
18                 Governmental Entities Committee.
19
20     The Court will review the leadership structure from time to time as the docket
21     proceeds, and may make changes or additions as warranted. Counsel are invited to
22     provide the Court their suggestion.
23
24
25     II.   Scheduling Conference.
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27                 The Court sets a scheduling conference for March 13, 2023 at 8:00
28                                              2
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 1     a.m. The Leadership Committee and Kia/Hyundai are ordered to file a Joint
 2     Report no later than March 3, 2023, addressing the topics outlined in Exhibit B to
 3     Order No. 1 and any other issues as appropriate. At the same time, the Leadership
 4     Committee and Kia/Hyundai shall file a proposed order implementing the report.
 5     Any party may file a response to the report not later than March 8, 2023.
 6
 7
       III.   Appointments.

 8
                    The Court makes the appointments listed below. The appointments
 9
       are personal in nature, and although the Court anticipates that appointees will draw
10
       on the resources of their firms or their existing co-counsel, the appointee is the
11
       member of the committee and responsible for the duties which he or she assumes.
12
       At a coming hearing, the Court will discuss a process for evaluating appointees’
13
       performance and commitment to the tasks assigned.
14
15
                    Plaintiffs’ Consumer Class Action Leadership Committee: Steve W.
16
                    Berman, Esq., Elizabeth A. Fegan, Esq., Kenneth B. McClain, Esq.,
17
                    and Roland Tellis, Esq.
18
19                  Plaintiffs’ Governmental Entities Committee Chair: Gretchen
20                  Freeman Cappio, Esq.
21
22                  Fact Discovery Committee: two members of the Leadership
23                  Committee, one of whom shall be the chair, and Jeffrey Goldenberg,
24                  Esq., Amanda K. Klevorn, Esq., and Tiffany Marko Yiatras, Esq.
25
26                  Expert Discovery Committee: two members of the Leadership
27                  Committee, one of whom shall be the chair, and Jason S. Rathod, Esq,
28                                                3
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 1                  Michael F. Ram, Esq., and Matthew D. Schelkopf, Esq.
 2
 3     IV.   Other Matters.
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 5                  A. Consolidated Complaint.
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 7
                    The Leadership Committee shall file a Consolidated Consumer Class
       Action complaint within sixty days of this Order along with a stipulation for
 8
       briefing and hearing on any Rule 12 or other challenge to the Complaint
 9
10
                    To the extent other Governmental Entity Complaints are filed within
11
       the next forty five days, the Governmental Entities Committee shall file a
12
       Consolidated Governmental Entities Complaint within sixty days of this Order
13
       along with a stipulation for briefing and hearing on any Rule 12 or other challenges
14
       to the Complaint. If no other complaints are filed, within sixty days Kia/Hyundai
15
       may file a Rule 12 or other challenge to the pleading in City of Seattle v. Hyundai
16
       Motor America, Inc., No. 23-cv-00098 (W.D. Wash.), along with a stipulation for
17
       briefing and hearing on any Rule 12 for other challenges to the Complaint.
18
19                  B. Preservation Order.
20
21                  The parties shall submit a proposed order no later than March 1, 2023.
22     The proposed order shall reflect alternative provisions where there is a dispute.
23     The Leadership Committee may supplement the proposed order with a brief of no
24     more than ten pages. Kia/Hyundai may supplement the proposed order with a brief
25     of no more than ten pages.
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28                                               4
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 1           C. Regular Hearings.
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 3                   The Court believes that it would helpful to set aside one day each
 4     month for a status conference, with the possible exception for the summer vacation
 5     period and year-end holidays. The Court would invite a joint status report a week
 6     in advance.

 7
       V.    Attorney’s Fees and Time Records.
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                     The Court orders any counsel who intend to apply for fees in a class
10
       action to create and maintain records sufficient to make and support a lodestar
11
       showing. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998).
12
13
                     IT IS SO ORDERED.
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       Dated: February 9, 2023
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                                                           ____________________
17                                                         James V. Selna
                                                           United States District Judge
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